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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


CORNELL SMITH,

              Petitioner,                    CRIMINAL NO. 04-80857
                                             CIVIL ACTION NO. 07-11145

       vs.
                                             DISTRICT JUDGE LAWRENCE P. ZATKOFF
                                             MAGISTRATE JUDGE DONALD A. SCHEER
UNITED STATES OF AMERICA,

           Respondent.
___________________________/


             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

RECOMMENDATION: The instant Motion to Vacate, Set Aside, or Correct Sentence

should be denied, as Petitioner has shown no violations of his federal constitutional rights

from alleged errors in his guilty plea proceedings.


                                         *     *   *

       Petitioner, while a prisoner at the Federal Correctional Institute in Fort Dix, New

Jersey1, filed a Motion to Vacate, Set Aside, or Correct Sentence, under 28 U.S.C. § 2255,

on March 16, 2007, alleging violations of his federal constitutional rights to due process

incident to his guilty plea before United States District Court Judge Lawrence P. Zatkoff.

As a result of a Rule 11 plea bargain agreement, which fully set forth the promises made




      1
       Plaintiff is currently incarcerated at the Devens Federal Medical Center, P.O. Box
879, Ayer, Massachusetts 01432.
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by both parties,2 the Petitioner pled guilty on January 5, 2006, to conspiracy to possess

cocaine and cocaine base (crack) with intent to distribute in violation of 21 U.S.C. §§

841(a)(1). Petitioner was later sentenced to the custody of the Attorney General for a term

of 180 months. As promised in the Rule 11 plea agreement, Petitioner did not file an appeal

with the Sixth Circuit Court of Appeals.

       Petitioner contends that his sentence for conspiracy to possess crack cocaine with

intent to distribute was excessive.    He also maintained that he received ineffective

assistance of counsel prior to his guilty plea and later at sentencing. The Respondent filed

an answer to the Motion to Vacate on July 23, 2007, contending that Petitioner’s guilty plea

served as an admission that he committed all the elements of the crime. Alternatively,

Respondent asserted that the overall performance of Petitioner's counsel was within the

range of effective representation demanded of lawyers practicing criminal law, and that

Petitioner had failed to demonstrate any prejudice resulting from alleged errors by trial

counsel. Petitioner has not filed a reply to Respondent’s Answer to date, even though he

was given an opportunity to do so.




        2
           In consideration of the plea, the parties agreed that the maximum custodial
sentence would not exceed 180 months. In addition, Petitioner agreed not to appeal the
legality of the sentencing guidelines or challenge the accuracy of any factor stipulated to
in the guideline worksheets. The district court later sentenced Petitioner to 180 months’
imprisonment. In exchange for the guilty plea, the government agreed to dismiss Counts
2 through 32 of the Superceding indictment, which alleged that Petitioner engaged in a
Continuing Criminal Enterprise (“CCE”) to distribute cocaine and cocaine base, and had
unlawfully used a communication facility. The CCE offense carried a mandatory minimum
sentence of 240 months. (See Rule 11 Plea Agreement at Docket #164).

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       Section 2255 provides that in an action to vacate or correct the sentence,3 the court

shall grant a hearing to determine the issues and make findings of fact and conclusions of

law "[u]nless the motion and the files and records of the case conclusively show that the

prisoner is not entitled to relief . . . ." The undersigned is persuaded that there is no merit

to the Petitioner's assertions that his guilty plea was involuntary, or that the plea or

sentence resulted from incompetent advice of counsel.

GUILTY PLEA PROCEEDINGS

       Petitioner argues that he was entitled to a downward departure at sentencing under

U.S.S.G. § 5H1.4 because he suffers from an extraordinary physical impairment4. He also

argued that the 100 to 1 sentencing ratio of the Sentencing Guidelines for crack cocaine

over powder cocaine5 violated his constitutional rights.

       By pleading guilty, however, Petitioner knowingly waived his rights to have a trial by

a jury, to be presumed innocent until proven guilty, and to have the prosecutor prove his

guilt beyond a reasonable doubt. Since a plea of guilty constitutes a waiver of several

constitutional rights, it consequently must be made voluntarily and intelligently. Boykin v.

Alabama, 395 U.S. 238, 242 (1969); Henderson v. Morgan, 426 U.S. 637, 648 (1976). In

particular, a "plea of guilty shall not be accepted unless made voluntarily after proper


       3
        In order to prevail upon a section 2255 motion, the petitioner “must allege one of
three bases: (1) an error of constitutional magnitude; (2) a sentence imposed outside the
statutory limits; or (3) an error of fact or law that was so fundamental as to render the entire
proceedings invalid.” Weinberger v. United States, 268 F.3d 346, 351 (6th Cir. 2001).
       4
           Petitioner has been a paraplegic since he was shot in 1998.
       5
       Under the 100:1 ratio of the Sentencing Guidelines, an individual who traffics in a
given quantity of crack cocaine is treated the same as an individual who traffics in 100
times as much powder cocaine. U.S.S.G. §2D1.1.

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advice and with full understanding of the consequences." Machibroda v. United States,

368 U.S. 487, 493 (1962), quoting Kercheval v. United States, 247 U.S. 220 (1927). It has

been stated that Boykin and Machibroda "set forth a three-pronged test: The plea of guilty

must be made voluntarily, it must be made after proper advice, and it must be made with

full understanding of the consequences."         Henderson v. Morgan, 426 U.S. at 653.

(Rehnquist, J., dissenting). The determination of whether the guilty plea was voluntarily

and intelligently made must be "based on a comprehensive examination of the totality of

the circumstances." Berry v. Mintzes, 726 F.2d 1142, 1146 (6th Cir. 1984).

       The record in this case clearly reveals that Petitioner's plea was knowing and

voluntary; that he consented in open court to the terms of the plea agreement; that he

understood the consequences of his guilty plea, including the possible prison sentence; and

that he consciously chose to plead rather than to go to trial. The meticulous record does

not reveal any breach of agreement or other impropriety in the administration of the plea

agreement. Petitioner also acknowledged that if the district court accepted the Rule 11 Plea

Agreement, he could not later withdraw his guilty plea or appeal his conviction (See p. 5-6

of Plea Agreement).

       Seeking a downward departure at sentencing under U.S.S.G. § 5H1.4 would have

violated the terms of the Rule 11 plea agreement. The plea agreement stated that the

attached worksheets reflected “the agreement of the parties.” The last page of the

worksheet addressed the issue of an upward or downward departure. The stipulated

worksheet specifically stated that there were no aggravating or mitigating circumstances

to support a departure from the sentencing guidelines. (See ¶9 of the Worksheets attached

to the Plea Agreement).

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       Petitioner was assisted by counsel within the terms of the Sixth Amendment, and

it is well settled that a voluntary and intelligent plea of guilty made by an accused person,

who has been advised by competent counsel, may not be collaterally attacked. Mabry v.

Johnson, 467 U.S. 504 (1984). As the Supreme Court has noted, "[t]o allow indiscriminate

hearings in federal post-conviction proceedings, whether for federal prisoners under 28

U.S.C. § 2255 or state prisoners under 28 U.S.C. §§ 2241-2254, would eliminate the chief

virtues of the plea system -- speed, economy, and finality." Blackledge v. Allison, 431 U.S.

63 (1977).

INEFFECTIVE ASSISTANCE OF COUNSEL

       In order to establish an ineffective assistance of counsel claim, Petitioner has the

burden of demonstrating that (1) his attorney made serious errors which undermined the

proper functioning of the adversarial process, and that (2) but for those errors, the result

of the proceeding would have been different. Strickland v. Washington, 466 U.S. 668, 687

(1984). A defendant asserting a claim of inadequate counsel must satisfy both elements

of the test; the defendant must demonstrate constitutionally inadequate assistance of

counsel and prejudice resulting therefrom Id. at 697. Judicial scrutiny of counsel's

performance must be highly deferential, Id. at 689, and because of the difficulties in

assessing counsel's performance, a reviewing court must "indulge a strong presumption

that counsel's conduct falls within the wide range of reasonable professional assistance;

that is, the (Petitioner) must overcome the presumption that, under the circumstances, the

challenged action might be considered sound trial strategy." Id. (citing Michel v. New York,

350 U.S. 91, 101 (1955)).



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       Petitioner has not met his burden here. Upon review, I am persuaded that he has

failed to show any serious errors or prejudice resulting from his attorney's performance.

In pleading guilty to the conspiracy charge in Count One, Petitioner stipulated that the

offense involved 1.4 kilograms of cocaine base (crack) and 137.7 grams of powder cocaine.

He does not allege that those amounts were not accurate. Counsel negotiated a sentence

30 months below the top Guideline Range prescribed for the crimes to which his client was

accepting responsibility. Moreover, Count Three of the superceding indictment, alleging

that Petitioner was part of a Continuing Criminal Enterprise (CCE), was dismissed as part

of the plea agreement. If Petitioner had elected to go to trial and had been convicted of a

CCE violation, he would have faced a mandatory minimum term of twenty years, with a

statutory maximum of life imprisonment. A similar penalty could have been imposed upon

Petitioner’s conviction on Count Eleven, in light of his prior felony drug conviction.

Furthermore, Petitioner faced up to 20 years in prison for each of the cocaine trafficking

offenses in Count Eight, Nine, Ten, Twelve, Thirteen and Fourteen, and up to 4 years for

his unlawful use of a communication facility (Counts 27-32). By negotiating the Rule 11

Plea Agreement, counsel for Petitioner saved his client from the risk of a much longer

sentence.

       As mentioned above, seeking a downward departure at sentencing under U.S.S.G.

§ 5H1.4 for his physical impairment would have breached the plea agreement and exposed

Petitioner to additional prosecution under the CCE count. Since Petitioner bargained away

his right to make a downward departure motion, it was not ineffective assistance of counsel

to fail to make such a motion prior to sentencing. Moreover, Petitioner’s physical condition

was well known, since he appeared in court using a wheelchair, and the Presentence

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Investigation Report advised the court as to his paraplegia. Because Petitioner has failed

to demonstrate that a more detailed medical history would have made any difference at

sentencing, he cannot establish that his attorney performed inadequately.

       There is no merit to his argument that his equal protection rights were violated by

the enhanced sentencing disparity between crack and cocaine powder. As pointed out by

Respondent in the Answer to the § 2255 petition, the Sixth Circuit has applied the rational

basis test and upheld the 100 to 1 ratio between crack and cocaine powder as

constitutional. United States v. Smith, 73 F.3d 1414, 1419 (6th Cir. 1996). The 100:1 ratio

has not been found to violate the substantive component of the Due Process Clause.

United States v. Pickett, 941 F.2d 411, 418-419 (6th Cir. 1991). The Sixth Circuit has also

rejected an equal protection challenge to the ratio brought under the Fifth Amendment,

United States v. Williams, 962 F.2d 1218, 1227 (6th Cir. 1993), as well as a claim that the

term “cocaine base” was unconstitutionally vague. United States v. Levy, 904 F.2d 1026,

1033 (6th Cir. 1990). Counsel negotiated a respectable plea in light of the evidence against

Petitioner, and the claim that he was denied the effective assistance of counsel in

connection with his guilty plea and sentencing should be rejected.

       For all the foregoing reasons, then, the undersigned recommends that the Motion

to Vacate, Set Aside, or Correct Sentence be denied. The parties are advised that any

objection to this Report and Recommendation must be filed with the Court within ten (10)

days after they are served with a copy, or further appeal from Judge Zatkoff's acceptance

thereof is waived.


                                          s/Donald A. Scheer
                                          DONALD A. SCHEER
                                          UNITED STATES MAGISTRATE JUDGE
DATED: December 13, 2007

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______________________________________________________________________

                                CERTIFICATE OF SERVICE

I hereby certify on December 13, 2007 that I electronically filed the foregoing paper with the
Clerk of the Court sending notification of such filing to all counsel registered electronically.
I hereby certify that a copy of this paper was mailed to the following non-registered ECF
participants on December 13, 2007: Cornell Smith.

                                            s/Michael E. Lang
                                            Deputy Clerk to
                                            Magistrate Judge Donald A. Scheer
                                            (313) 234-5217




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